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For The ’.‘r ."
i)isTRi cr oF NEw Mi~:xico `
04 APR 27 PH 2= 55
Request for Modifying the Conditions or Term of Superv€:siip|qr_, g ,:,__ _n_
with Consent of the Of'fender l- h"‘"--"“'J width
Name of Offender: Michael Estrada
Case Number'. 2:0]CR00071-001MV

Namc of Sentencing .ludge: Honorable Martha Vazquez. Chief United States District Judge
Date of Original Sentence: December 19. 2001

Original Offense: Distribution of Less Than 500 Grams of Cocaine (2 Counts)
Original Sentence: 18 months custody. followed by 3 years supervised release
Special Conditions: Participate in substance abuse program; Refrain from the use of all

intoxicants, including aleohol; Provide the United States Probation Office
access to any requested financial information

Date Supervision February 3. 2004
Commenced:
Other Court Action: Supervised release revoked on .lanuary 16, 2004. Defendant sentenced to

205 days custody. followed by 19 months supervised release. Petition to
revoke second term of supervised release filed February l l. 2004. and
remains pending

The original presentence report is attached.

 

PET|TIONING THE COURT

E To extend the term of supervision ._for a total term of .
To modify the conditions of supervision as follows:

The defendant shall reside at and complete a program ata community corrections center for a period
of 90 days. as approved by the probation officer.

JUST|FICAT|ON

The defendant was arrested on February 10. 2004. based on the currently pending petition for revocation
of supervised release. On March 29, 2004, the defendant was ordered released from custody to participate
in a residential substance abuse program at the New Mexico Rehabilitation Center. in Roswell. New
Mexico. On April 20_ 2004. he successfully completed the program. The probation office is
recommending the proposed modification in order to allow the defendant to continue treatment on an
outpatient basis. in a structured setting, which should increase his chance for a successful recovery.
lle has agreed to the modification as indicated by the attached Probation Form 49. Waiver of Hearing
to Modify Conditions of Supervised Release. Additionally. the probation office has indicated to the
defendant that should he successfully complete the 90 day placement. we will recommend to the (.` ourt
that the petition for revocation be dismisscd.

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Submitted: Reviewed:

 
 
  

 

Ll.S. Probation Officer - . ing KS. Probation Officer

Robert Rosenblooin

LDg‘\l '?_Q>, ZDC>\;[_ ‘/lV/Z g~_{/U,t/

‘ Date Date

l have been advised and understand that I am entitled by law to a hearing and assistance of counsel
before any unfavorable change may be made in my Conditions of Probation and Supervised Release
or iny period of supervision being extended. I also understand that l have the right to request the C ourt
to appoint counsel to represent me at such a hearing at no cost to myself if l am not able to retain
counsel of my own choosing.

l hereby voluntarily waive my statutory right to a hearing. l also agree to the following modification
of my Conditions of Probation and Supervised Releasc or to the proposed extension ofmy term of
supervision

Witness: Signed'.

l.`.S. Probation Of’r'icer Probationer or Supervised Rclcasce
Robcrt Rosenbloom

 

Datc l)atc
Attorney:

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At orney

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Date j

 

 

 

rl`l'lli`. COURT ORDERS:

l§ The conditions of supervision be modified as noted above and made a part of the record.
l:l The term of supervision is extended as noted above and made a part of the rccord.
l:l ()ther:

 

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Consideythis 12 d day of

94 . 2004 and made a part of
the ecords in the above case. M

 

 

y Signature of .ludicial Of`tic#

